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                      EXHIBIT A
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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                    CASE NO: 20-cv-20113-KMW

    STEVEN F. HELFAND,

            Plaintiff,
    vs.

    ESSLINGER WOOTEN MAXWELL INC.
    d/b/a   BERKSHIRE    HATHAWAY
    HOMESERVICES     EWM    REALTY;
    EDWARD PELOSO; EJP 888 BISCAYNE
    BLVD     2712,  LLC;   MARCELO
    STEINMANDER; and MARINA BLUE
    CONDOMINIUM ASSOCIATION,

            Defendants.

      DEFENDANTS’ ESSLINGER WOOTEN MAXWELL, INC. D/B/A BERKSHIRE
    HATHAWAY HOMESERVICES EWM REALTY AND MARCELO STEINMANDER’S
          AMENDED MOTION TO DISMISS AND MEMORANDUM OF LAW

           Defendants,    ESSLINGER      WOOTEN        MAXWELL,        INC.    d/b/a   BERKSHIRE

   HATHAWAY HOMESERVICES EWM REALTY (“EWM”) and MARCELO STEINMANDER

   (“Steinmander) (EWM and Steinmander are collectively referred to as “Defendants”), by and

   through their undersigned counsel and pursuant to Rule 12 of the Federal Rules of Civil Procedure

   and S.D. Fla. L.R. 7.1, file this Amended Motion to Dismiss and Memorandum of Law:

                                          INTRODUCTION

      I.      Summary of Bases for Dismissal

           Plaintiff has sued the Defendants for an alleged violation of the Fair Housing Act (“FHA”)

   after Plaintiff was successfully evicted from his former apartment for failing to abide by the

   Bylaws and Rules of the Association. D.E. 30. Defendants seek dismissal of Plaintiff’s Amended

   Complaint with prejudice for two reasons:

      1. The doctrine of res judicata prohibits Plaintiff from prosecuting this lawsuit. The cause of
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   action Plaintiff asserts for violation of the FHA arises from the same nucleus of facts upon which

   a judgment for eviction was entered against Plaintiff in the Eleventh Judicial Circuit of Florida

   (“eviction action”). As a result, Plaintiff is precluded from prosecuting the present action as a

   matter of law. Hosseinzadeh v. Green Point Mortgage Funding, Inc.,577 Fed. Appx. 925 (11th

   Cir. 2014) (The doctrine of res judicata bars a party from relitigating a claim that was or could

   have been raised in a prior lawsuit); and

      2. Plaintiff has failed to comply with this Court’s March 2, 2020 Order cautioning Plaintiff

   that any amended complaint may be dismissed unless he complies with the pleading requirements

   set forth in Jackson v. Specialized Loan Servicing LLC, No. 16-16685 (11th Cir. Aug. 3, 2018).

      II.      Standard of Review

            A motion to dismiss does not test the merits of a case, but requires that “the plaintiff's

   factual allegations, when assumed to be true, ‘must be enough to raise a right to relief above the

   speculative level.’” Mills v. Foremost Ins. Co.,511 F.3d 1300, 1303 (11th Cir.2008) (quoting Bell

   Atl. Corp. v. Twombly, 550 U.S. 544, 127 S.Ct. 1955, 1965, 167 L.Ed.2d 929 (2007)). When the

   defense of res judicata can be determined from the face of a complaint, it may be raised on a motion

   to dismiss. Solis v. Global Acceptance Credit Co., L.P., 601 Fed.Appx. 767 (11th Cir. 2015).

            District courts have authority to dismiss shotgun pleadings. Jackson v. Specialized Loan

   Servicing LLC, No. 16-16685 (11th Cir. Aug. 3, 2018). See, e.g. Weiland v. Palm Beach Cty.

   Sheriff’s Office, 792 F.3d 1313, 1320 (11th Cir. 2015) (explaining that the district court retains

   “inherent authority to control its docket and ensure the prompt resolution of lawsuits,” including,

   under proper circumstances, “the power to dismiss a complaint for failure to comply with Rule

   8(a)(2)”). And while district courts must allow a plaintiff one opportunity to amend a shotgun

   pleading, implicit in such a repleading order is the “notion that if the plaintiff fails to comply with

   the court’s order—by filing a repleader with the same deficiency—the court should strike his
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   pleading or, depending on the circumstances, dismiss his case and consider the imposition of

   monetary sanctions.” Byrne v. Nezhat, 261 F.3d 1075 (11th Cir. 2001).1 This is because shotgun

   pleadings leave defendants and the courts guessing as to the true nature of the claim presented

   resulting in waste of resources and, as the court in Jackson so poignantly noted, “garbage in,

   garbage out”. Id.

                                         MEMORANDUM OF LAW

       III.      Argument

                 A. Plaintiff’s Claim is Barred by Res Judicata

              The doctrine of res judicata bars a party from relitigating a claim that was or could have

   been raised in a prior lawsuit. Hosseinzadeh v. Green Point Mortgage Funding, Inc.,577 Fed.

   Appx. 925 (11th Cir. 2014). Res judicata applies when a prior judgment: (1) is rendered by a court

   of competent jurisdiction; (2) is final and on the merits; (3) involves the same parties or those in

   privity with them; and (4) involves a cause of action arising from the same nucleus of facts.

   Echevarria v. Bank of America, N.A., 632 Fed. Appx. 1006 (11th Cir. 2015). All four requirements

   for application of res judicata are met here.




   1
    In Byrne v. Nezhat, 261 F.3d 1075 (11th Cir. 2001), abrogated on other grounds by Bridge v.
   Phoenix Bond & Indem. Co., 553 U.S. 639, 128 S. Ct. 2131 (2008), the Court explained:

              Shotgun pleadings, if tolerated, harm the court by impeding its ability to administer
              justice. Wasting scarce judicial and parajudicial resources impedes the due
              administration of justice and, in a very real sense, amounts to obstruction of justice.
              Although obstruction of justice is typically discussed in the context of criminal
              contempt, the concept informs the rules of law—both substantive and procedural—
              that have been devised to protect the courts and litigants (and therefore the public)
              from abusive litigation tactics, like shotgun pleadings. If use of an abusive tactic is
              deliberate and actually impedes the orderly litigation of the case, to-wit: obstructs
              justice, the perpetrator could be cited for criminal contempt.

   Id. at 1131–32.
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           Although disjointed, somewhat incomprehensible, and in conflict with Rule 8 of the

   Federal Rules of Civil Procedure, Plaintiff’s Amended Complaint purports to bring a cause of

   action for violation of the FHA.          Plaintiff alleges that an eviction proceeding motivated by

   discrimination was filed against him by his then landlord. D.E. 30, ¶ 5- 13. Plaintiff alleges that

   the Defendants were agents of his then landlord and acted in concert with Plaintiff’s then landlord

   to obtain his eviction. D.E. 30, ¶ 7. Plaintiff did not contest the eviction action resulting in a default

   and writ of possession against Plaintiff. D.E. 30, ¶ 5 and 10 - 11.2

           The first element necessary for application of res judicata – judgment by a court of

   competent jurisdiction – is clearly present here; the Eleventh Judicial Circuit in and for Miami-

   Dade County is without question a Court of competent jurisdiction. Plaintiff acknowledges that

   the Eleventh Judicial Circuit in and for Miami-Dade County entered judgment against him in the

   eviction action. D.E. 30, ¶ 5, 10 - 11.

           The second element necessary for application of res judicata – the prior judgment must be

   final and on the merits – is also present here. Here, Plaintiff alleges in the Amended Complaint

   that an eviction proceeding was filed against him, and that it resulted in a default and writ of

   possession. D.E. 30, ¶ 5, 10 - 11. It is well settled that a default judgment is a dismissal on the

   merits. Cabinet Craft, Inc. v. A.G. Spanos Enterprises, Inc., 348 So.2d 920 (Fla. 2d DCA



   2
    Plaintiff acknowledges a default and writ of possession were entered against him in the eviction
   proceeding, and therefore, the Court need not go outside the four corners of the Amended
   Complaint to decide the Motion presented. D.E. 30, paragraphs 5, 10, and 11. The Court may,
   however, consider records from the Circuit Court of the Eleventh Judicial Circuit in deciding a
   motion to dismiss. Certain Underwriters at Lloyd’s of London v. BE Logistics, Inc., 736 F.Supp.2d
   1311 (S.D.Fla. 2011)(when analyzing a motion to dismiss, the court may consider documents
   central to or referenced in the complaint); and LeGrasta v. First Union Securities, Inc., 358 F.3d
   840 (11th Cir. 2004)(the court may consider matters judicially noticed when analyzing a motion to
   dismiss). To the extent it may be necessary here, Defendants move the Court to take judicial notice
   of the filings made in EJP 888 Biscayne Blvd. 2712 LLC v. Steven F. Helfand, et. al., Case No.
   2019-026101-CC-05. The Complaint, Order granting Default Judgment, and Writ of Possession
   are attached hereto as Composite Exhibit “1”.
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   1977)(For purposes of res judicata, a judgment entered upon default is just as conclusive as one

   which was hotly contested).

          The third element necessary for application of res judicata - the prior action involved the

   same parties or those in privity with them as the parties before the court – also exists here. Here,

   Plaintiff alleges that the Defendants are liable for the alleged FHA violations because they were

   agents of Plaintiff’s then landlord. D.E. 30, ¶ 7. Agents are considered in privity with their

   principals when considering whether to apply res judicata. Echevarria v. Bank of America, N.A.,

   632 Fed. Appx. 1006 (11th Cir. 2015); and Shore v. Wilmington Trust, N.A., 2017 WL 1494509

   (S.D.Fla. 2017)(A principal / agent relationship establishes privity for purposes of applying res

   judicata).

          Finally, the fourth element necessary for application of res judicata – the prior claim and

   the one at issue arise from the same nucleus of facts – also exists here. As Plaintiff alleges in his

   Amended Complaint, the Defendants acted as agents of Plaintiff’s then landlord while

   participating in discriminatory efforts to evict Plaintiff from his apartment in violation of the FHA.

   D.E. 30. The eviction action resulted in a default judgment and writ of possession tantamount to

   a judicial finding that Plaintiff was rightfully evicted from his former apartment. D.E. 30, ¶ 5, 10,

   and 11. It is this very same nucleus of facts that Plaintiff relies upon to bring his FHA claim here.

   Both the eviction action and this lawsuit bring claims based upon the Landlord’s pursuit of and

   ultimate success in evicting Plaintiff from his former apartment. Both lawsuits arise from the

   termination of Plaintiff’s residency.

          Plaintiff had the opportunity to present his FHA claim in the eviction proceedings that

   resulted in a final judgment against him, but failed to raise a compulsory counterclaim for violation

   of FHA. In Smith v. Secretary, US Department of Housing and Urban Development, the Eleventh

   Circuit determined that a breach of contract action was barred pursuant to res judicata because it
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   arose from the same nucleus of facts as plaintiff’s prior FHA claim – whether plaintiff was

   rightfully evicted from his home. Smith v. Secretary, US Department of Housing and Urban

   Development, 680 Fed. Appx. 791 (11th Cir. 2017). The Smith Court explained, “if a case arises

   out of same nucleus of operative fact, or is based upon the same factual predicate, as a former

   action,…the two cases are really the ‘same claim’ or ‘cause of action’ for res judicata.” This

   includes claims that could have been raised in the prior litigation.” Id. At 793.

          The Court is now presented with a FHA claim that arises from the same nucleus of facts as

   the eviction action. Res judicata applies to bar Plaintiff’s present claim. Plaintiff was required to

   bring his FHA claim in the eviction action and, because he failed to do so, he is barred from

   bringing a FHA claim here. It is well settled that a claim based upon discrimination actionable

   under the FHA is a compulsory counterclaim to an action for eviction. Gueye v. Page Tower, et.

   al., 2011 WL 1791708 (S.D.Ohio 2011); and Shell v. Hollywood Housing Authority, 2009 WL

   837654 (S.D.Fla. 2009). Plaintiff’s Amended Complaint should be dismissed with prejudice.

              B. Plaintiff Failed to Comply with the Court’s March 2, 2020 Order

          On March 2, 2020, the Court granted Plaintiff’s Motion for Leave to Amend requiring

   Plaintiff to avoid filing an amended complaint that “incorporates all the same facts into one count

   and does not separately identify the particular facts that support each element of the causes of

   action alleged and also identify what facts pertain to which defendant.” The Court’s March 2,

   2020 Order further instructed, “the current complaint conclusorily alleges a cause of action against

   multiple defendants without alleging the particular actions that each defendant took that satisfy

   each particular element of the cause of action.” The Court ordered “any amended complaint filed

   in the action must address these deficiencies. The complaint should be organized on a claim-by-

   claim basis against each separate defendant.” And, the Court cautioned Plaintiff that “failure to

   comply with this Order may result in dismissal of the action.” D.E. 26.
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          Plaintiff’s Amended Complaint incorporates all the same facts into one count, does not

   separately identify the particular facts that support each element of the cause of action, does not

   identify which facts pertain to which defendant, fails to identify the particular actions that each

   defendant took to satisfy each particular element of the cause of action, and lumps all four

   defendants together under the sole cause of action alleged. In other words, Plaintiff ignored the

   Court’s Order, and the Defendants request that the Court exercise its inherent authority and dismiss

   Plaintiff’s Amended Complaint with prejudice.

          Federal Rule of Civil Procedure, 8 requires a plaintiff to plead “a short and plain statement

   of the claim showing that the pleader is entitled to relief.” Fed. R. Civ. P. 8(a)(2). Shotgun

   pleadings, like the Amended Complaint, violate Rule 8. Shotgun pleadings exact an intolerable

   toll on the trial court’s docket, lead to unnecessary and unchanneled discovery, and impose

   unwarranted expense on the litigants, the court and the court’s parajudicial personnel and

   resources. Moreover, justice is delayed for the litigants who are “standing in line,” waiting for their

   cases to be heard. The courts of appeals and the litigants appearing before them suffer as well.

   Cramer v. Florida, 117 F.3d 1258, 1263 (11th Cir. 1997). And while pleadings drafted by pro se

   litigants are traditionally construed more liberally than those drafted by counsel, a pro se plaintiff

   is, nevertheless, required to follow the “minimum pleading standards” set forth in the Federal

   Rules of Civil Procedure. Jarzynka v. St. Thomas University School of Law, 310 F.Supp.2d 1256

   (S.D.Fla. 2004).

          Here, Plaintiff incorporates all of the same facts against each of the four separate

   defendants in the same count. D.E. 30. Plaintiff does not identify which facts apply to which

   defendant. D.E. 30. Plaintiff has violated the Court’s March 2, 2020 Order, and it is within the

   Court’s inherent authority to dismiss Plaintiff’s Amended Complaint with prejudice.
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      IV.      Conclusion

            Plaintiff was required to bring his FHA claim as a counterclaim in the eviction action; he

   failed to do so, and a default judgment and writ of possession were entered against Plaintiff. As a

   result, Plaintiff’s FHA claim is barred here as a matter of law.

            The Court also has inherent authority to enforce its March 2, 2020 Order, and dismiss

   Plaintiff’s lawsuit with prejudice for failing to follow the Court’s Order.

            WHEREFORE, the Defendants, ESSLINGER WOOTEN MAXWELL, INC. d/b/a

   BERKSHIRE         HATHAWAY          HOMESERVICES          EMW       REALTY       and   MARCELO

   STEINMANDER respectfully request that the Court grant this Motion and provide for any other

   relief deemed just and proper.

                                                 Respectfully submitted,

                                                 Esslinger-Wooten-Maxwell, Inc. d/b/a
                                                 Berkshire Hathaway HomeServices EWM Realty
                                                 and Marcelo Steinmander
                                                 201 Alhambra Circle, Suite 1060
                                                 Coral Gables, Florida 33134
                                                 Tel: 305-960-2517

                                                 By:     _______________________
                                                         ANIELLA GONZALEZ
                                                         Florida Bar No. 547484
                                                         aniella@ewm.com
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                                    CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that on this ____ day of June, 2020, that a true and correct copy

    of the foregoing was filed with the Court through CM/ECF, and has been served upon all parties

    on the attached Service List in the manner specified, either via transmission of Notices of

    Electronic Filing generated by CM/ECF or in some other authorized manner for those counsel or

    parties who are not authorized to received Notices of Electronic Filing.


                                                 By:     _______________________


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